Case: 6:22-cv-00095-REW-EBA Doc #: 22 Filed: 07/01/22 Page: 1 of 4 - Page ID#: 195




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF KENTUCKY


  PHI HEALTH, LLC, et al.,

                     Plaintiffs,

           v.                                          No. 6:22-cv-00095-REW-EBA

  UNITED STATES DEPARTMENT OF
  HEALTH AND HUMAN SERVICES, et
  al.,

                     Defendants.


                DEFENDANTS’ MOTION TO DEFER THEIR OBLIGATION
                       TO RESPOND TO THE COMPLAINT

        The Defendants respectfully request that the Court defer their obligation to answer or

 otherwise respond to the complaint in this action until thirty (30) days following the Court’s

 disposition of their pending motion to transfer this action to the District of Columbia. A stay of the

 Defendants’ response deadline would serve the interest of judicial economy by permitting the

 transferee court to address the Defendants’ response to the complaint in the first instance. Counsel

 for the Defendants have conferred with counsel for the Plaintiffs concerning this motion, and

 counsel for the Plaintiffs report that they oppose this motion. Good cause exists for this request for

 the following reasons.

        1. The Plaintiffs filed their complaint in this action on April 29, 2022. ECF No. 1. The

 United States Attorney’s Office was served with the summons and complaint on May 6, 2022. See

 ECF No. 13.

        2. The Defendants have filed a motion to transfer this action to the District of Columbia

 under the “first-to-file” rule. As the Defendants explain in greater detail in that motion, the lead



                                                   1
Case: 6:22-cv-00095-REW-EBA Doc #: 22 Filed: 07/01/22 Page: 2 of 4 - Page ID#: 196




 Plaintiff here, PHI Health, LLC, is pursuing identical claims here and in a case filed earlier in the

 District of Columbia. Under the “first-to-file” rule, “when actions involving nearly identical parties

 and issues have been filed in two different district courts, the court in which the first suit was filed

 should generally proceed to judgment.” Baatz v. Columbia Gas Transmission, LLC, 814 F.3d 785,

 789 (6th Cir. 2016).

        3. This Court should resolve the motion to transfer before proceeding further with this

 case. “Although district courts have discretion as to how to handle their dockets, once a party files

 a transfer motion, disposing of that motion should unquestionably take top priority.” In re Apple

 Inc., 979 F.3d 1332, 1337 (Fed. Cir. 2020); accord, In re Horseshoe Ent., 337 F.3d 429, 433 (5th

 Cir. 2003) (“disposition of that [transfer] motion should have taken a top priority”). “Judicial

 economy requires that another district court should not burden itself with the merits of the action

 until it is decided [whether] a transfer should be effected.” In re Apple Inc., 979 F.3d at 1337

 (quoting McDonnell Douglas Corp. v. Polin, 429 F.2d 30, 30 (3d Cir. 1970)); see also B.E. Tech.,

 LLC v. Spark Networks, Inc., No. 2:12-cv-02832-JPM-cgc, 2013 WL 12049108, at *1 (W.D. Tenn.

 Feb. 14, 2013).

        4. The deferral of the Defendants’ obligation to answer or otherwise respond to the

 complaint in this action would accordingly serve the interest of judicial economy. If this Court

 grants the Defendants’ motion to transfer, the deferral of the Defendant’s obligation to respond to

 the complaint would permit the transferee court to decide in the first instance how best to

 coordinate this action with the first-filed action, as well as any other issues of case management

 that may arise with respect to the Plaintiffs’ complaint. A deferral would also permit the

 Defendants to prepare a response to the complaint that would be of the most assistance either to




                                                    2
Case: 6:22-cv-00095-REW-EBA Doc #: 22 Filed: 07/01/22 Page: 3 of 4 - Page ID#: 197




 the transferee court or to this Court, by affording the Defendants the opportunity to prepare a

 response that accounts for D.C. Circuit or Sixth Circuit case law, as appropriate.

        WHEREFORE, the Defendants respectfully request that the Court defer their obligation to

 answer or otherwise respond to the complaint in this action until thirty (30) days following the

 Court’s disposition of their pending motion to transfer this action to the District of Columbia


 Dated: July 1, 2022                                  Respectfully submitted,

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                                                      Assistant Branch Director

                                                      /s/ Joel McElvain
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                                                  3
Case: 6:22-cv-00095-REW-EBA Doc #: 22 Filed: 07/01/22 Page: 4 of 4 - Page ID#: 198




                                 CERTIFICATE OF SERVICE

        I hereby certify on this 1st day of July, 2022, a true and correct copy of this document was
 served electronically by the Court’s CM/ECF system to all counsel of record.


                                                      /s/ Joel McElvain
                                                      JOEL McELVAIN




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